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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            :
                                                    :
                                                    :        CASE NO. 21-cr-003 (RCL)
             v.                                     :
                                                    :
JACOB CHANSLEY,                                     :
                                                    :
                   Defendant.                       :


                                  NOTICE OF DISCOVERY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court and defense that the attached discovery letter

of May 20, 2021, has been provided to the defense in this matter.


                                             Respectfully submitted,
                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             D.C. Bar No. 415793


                                     By:                     /s/
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